Case:21-01230-swd Doc#:7 Filed: 05/14/2021 Page1of5 syi221 5:41PM

Fillin this information to identify your case!

 

United States Bankruptcy Court for the:

 

WESTERN DISTRICT OF MICHIGAN —

 

Case number (if known) 24-01230 Chapter 41

 

i Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, /nstructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Buy Moore LLC

 

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

DBA Buy Moore Toys & Comics

 

3. Debtor's federal
Employer Identification  XX-XXXXXXX

 

 

 

 

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of

business

25 N. Squires St. 6960 Browmyer Dr.

Rockford, M! 49341 Rockford, MI 49341

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code

Kent Location of principal assets, if different from principal

County — — place of business
Tom Stressman, Court Officer
clo M&W Inc.
979 West River Center Dr. NE Comstock Park, Ml
49321

 

Number, Street, City, State & ZIP Code

 

6. Debtor's website (URL) | www.buymoore.store

 

 

 

 

6. Type of debtor ll Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
OO Partnership (excluding LLP)
1 Other. Specify:

 

 

 

 

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Debtor Buy Moore LLC Case number {ifknown) 24-.04230

 

Name

7. Describe debtor's business A. Check one:
0 Health Care Business (as defined in 11 U.S.C. § 101(27A))

O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
O Railroad (as defined in 11 U.S.C. § 101(44))

0 Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

Hi None of the above

B. Check all that apply

0 Tax-exempt entity (as described in 26 U.S.C. §501)

0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS ee American nousy Classification System) 4-digit code that best describes debtor.
ll it-national-association-naics-codes.

 

 

8. Under which chapter of the Check one:
Bankruptcy Code is the © chapter 7

debtor filing?
O Chapter 9

A debtor who is a “small I Chapter 11. Check all that apply.
business debtor” must check
the first sub-box. A debtor as Ml The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
defined in § 1182(1) who noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
elects to proceed under $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
subchapter V of chapter 11 operations, cash-flow statement, and federal income tax return or if any of these documents do not
(whether or not the debtor is a exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

paul ets, glad WI The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated

check the second sub-box. : :
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to

proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

C1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

ona

O Chapter 12

9. Were prior bankruptoy BI No
eases filed by or against ,
the debtor within the last8 [1] Yes.
years?
lf more than 2 cases, attach a a
separate list. District When ____ Case number _
District When ____ Case number _

 

10. Are any bankruptcy cases gy No
pending or being filed by a
business partner or an D Yes.
affiliate of the debtor?

List ali cases. If more than 1,
attach a separate list Debtor Relationship _

District When ____ Case number, if known

 

Official Form 201 Voluntary Petition for Non-Individuais Filing for Bankruptcy page 2
Case:21-01230-swd Doc#:7 Filed: 05/14/2021 Page 3of5 5/12/21 5:41PM
Debtor Buy MooreLLC | Case number (ifknown) 24-01230

Name

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Debtor BuyMooreLLC | Case number (ifknown) 24-01230

Name -

11. Why is the case filed in Check all that apply:

this district?
I Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

Os Abankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.

 

 

12. Does the debtorownor i jo
have possession of any
real property or personal (] Yes.
property that needs
immediate attention? Why does the property need immediate attention? (Check ail that apply.)

D It poses or is alleged to pose a threat of imminent and identifiable hazard to public heatth or safety.
What is the hazard?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

C it needs to be physically secured or protected from the weather.

C tt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

other
Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?
[No

Ol Yes. Insurance agency

 

Contact name

 

Phone

 

 

BE stztistica and administrative information

 

13. Debtor's estimation of : Check one:

available funds
Il Funds will be available for distribution to unsecured creditors.

OC After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

 

 

14. Estimated number of W149 C1 1,000-5,000 (1 25,001-50,000
creditors 0 50-99 1 5001-10,000 © 50,001-100,000

C1 100-199 D 10,001-25,000 C1 More than100,000
(200-999

16. Estimated Assets § $0 - $50,000 1 $1,000,001 - $10 million ($50,000,001 - $1 billion
C1 $50,001 - $100,000 D $10,000,001 - $50 million [2] $1,000,000,001 - $10 billion
1 $100,001 - $500,000 D) $50,000,001 - $100 million CZ $10,000,000,001 - $50 billion
C1 $500,001 - $1 million D2 $100,000,001 - $500 million 0 More than $50 billion

46, Estimated liabilities i $0 - $50,000 C1 $1,000,001 - $10 million 1 $500,000,001 - $1 bitlion
C1 $50,001 - $100,000 D $10,000,004 - $50 million OD $1,000,000,001 - $10 billion
C1 $100,001 - $500,000 CJ $50,000,001 - $100 million C1 $10,000,000,001 - $50 billion
0 $500,001 - $1 million 0 $100,000,001 - $500 million 1 More than $50 bilfion

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Debtor Buy Moore LLC Case number (ifknown) 24-041230

Name

 

(fo Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor
| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

    
   
 

Executed on 12, 2021
xX | Jeff Moore

 
  

 

 

 

| representative of debtor Printed name

Noe Near

 

 

 

X tsi Jam izen Date May 12, 2021

ne of attorneys debtor MM/DD/YYYY

James R. Oppenhuizen P68715

18. Signature of attorney

 

f= name

Oppenhuizen Law Firm, PLC
Firm name

25 Division Avenue S.

 

 

Suite 525

Grand Rapids, MI49503) _
Number, Street, City, State & ZIP Code

Contact phone 616-730-1861 Email address joppenhuizen@oppenhuizenlaw.com
P68715 MI

 

Bar number and State

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